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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Tdalia Valcarcel,

Plaintiff,
STIPULATED

v. PROTECTIVE ORDER

Ahold U.S.A., Inc.,

Defendant.

 

 

JED S. RAKOFF, U.S.D.J.

The parties having agreed to the following terms of
confidentiality, and the Court having found that good cause
exists for issuance of an appropriately tailored
confidentiality order governing the pre-trial phase of this
action, it is therefore hereby

ORDERED that any person subject to this Order --
including without limitation the parties to this action, their
representatives, agents, experts and consultants, all third
parties providing discovery in this action, and all other
interested persons with actual or constructive notice of this
Order-- shall adhere to the following terms, upon pain of

contempt:

1. Any person subject to this Order who receives from

any other person any “Discovery Material” (i.e., information

 

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of any kind provided in the course of discovery in this action)
that is designated as “Confidential” pursuant to the terms of
this Order shall not disclose such Confidential Discovery
Material to anyone else except as expressly permitted
hereunder.

2. The person producing any given Discovery Material
may designate as Confidential only such portion of such
material as consists of:

(a) previously nondisclosed financial information
(including without limitation profitability reports
or estimates, percentage fees, design fees, royalty
rates,minimum guarantee payments, sales reports,
sale margins, and pricing information) ;

(b) previously nondisclosed material relating to
ownership or control of any non-public company;

(c) previously nondisclosed business plans,
product development information, or marketing plans;
(d) previously nondisclosed and proprietary market
and consumer research;

(e) product formulation information (including
without Limitation formulas, ingredient
specifications, and product specifications) ;

(f) any information of a personal or intimate

nature regarding any individual; or

 

 

 

 

 

 

 
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(g) any other category of information hereinafter

givenconfidential status by the Court.

3. Any party who serves a subpoena on a third party
requesting the production of documents in this litigation must

include a copy of this Protective Order with the subpoena.

4, A party to this action may designate’ the
Confidential portion of Discovery Material produced by a third
party as “Confidential” if the Discovery Material contains
that party’s confidential information as defined in Paragraph
2, by providing written notice to all parties within twenty-
one (21) calendar days after receiving such material, and

providing a copy of the material clearly labeled, stamped, or

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otherwise marked “Confidential” with the additional words “as
designated by [Party].”
5. With respect to the Confidential portion of any

Discovery Material other than deposition transcripts and
exhibits,the producing person or that person's counsel may
designate such portion as “Confidential” by stamping or
otherwise clearly markingas “Confidential” the protected
portion in a manner that will not interfere with legibility or
audibility, and by also producing forfuture public use another
copy of said Discovery Material with the confidential

information redacted, unless the entire document is

 

 

 

 

 
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confidential, in which case a redacted version need not be
produced. With respect to deposition transcripts and exhibits,
a producing person or that person's counsel may designate
deposition testimony or portions thereof that contain
Confidential information as “Confidential” by giving written
notice to all counsel of record within fourteen (14) calendar
days after the designating party’s receipt of the transcript,
in which case all counsel receiving such notice shall be
responsible for marking the copies of the designated
transcript or portion thereof in their possession or control
as directed by the designating party. Pending expiration of
the fourteen (14) calendar days, the entire deposition
transcript shall be treated as Confidential.

6. If at any time prior to the trial of this action, a
producing person realizes that some portion[s] of Discovery
Material that that person previously produced without
limitation should be designated as Confidential, he may so
designate by so apprising all parties in writing, and such
designated portion[s} of the Discovery Material will
thereafter be treated as Confidential under the terms of this
Order.

7. No person subject to this Order other than the
producingperson shall disclose any of the Discovery Material

designated bythe producing person as Confidential to any other

 

 

 

 

 
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person whomsoever, except to:
(a) the parties to this action;
(o) counsel retained specifically for this action,
including any paralegal, clerical and other
assistant employed by such counsel and assigned to

this matter;

 

(c) as to any document, its author, its addressee,

 

andany other person indicated on the face of the

 

document as having received a copy;

(d) any witness who counsel for a party in good
faith believes may be called to testify at trial or
depositionin this action, provided such person has

first executeda Non-Disclosure Agreement in the form

 

annexed as an Exhibit hereto;
(e) any person retained by a party to serve as an
expert witness or otherwise provide specialized

advice to counsel in connection with this action,

 

provided such person has first executed a Non-

 

Disclosure Agreement inthe form annexed as an

 

Exhibit hereto;

(f£) stenographers engaged to transcribe

 

depositions conducted in this action; and

(g) the Court and its support personnel.

8. Prior to any disclosure of any Confidential

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Discovery Material to any person referred to in subparagraphs
5(d) or 5(e) above, such person shall be provided by counsel
with a copy of this Protective Order and shall sign a Non-
Disclosure Agreement inthe form annexed as an Exhibit hereto
stating that that person hasread this Order and agrees to be
bound by its terms. Said counselshall retain each signed Non-
Disclosure Agreement, hold it in escrow, and produce it to
opposing counsel either prior to such person being permitted
to testify (at deposition or trial) or atthe conclusion of the
case, whichever comes first.

9. A receiving party may use Confidential Discovery
Material produced in connection with this case only for the
purpose of prosecuting, defending, or attempting to settle
this litigation. A receiving party must not use Confidential
Discovery Material produced in this case for any outside
purposes, including, without limitation, any outside business
or outside commercial purpose.

10. All Confidential Discovery Material filed with the
Court, and all portions of pleadings, motions or other papers
filedwith the Court that disclose such Confidential Discovery
Material,shall be filed under seal with the Clerk of the Court
and kept under seal until further order of the Court. The
parties need not request the Court’s prior permission to file

Confidential Discovery Material under seal. The parties will

 

 

 

 

 

 

 
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usetheir best efforts to minimize such sealing. In any event,
any party filing a motion or any other papers with the Court
under seal shall also publicly file a redacted copy of the
same, via theCourt’s Electronic Case Filing system, that
redacts only the Confidential Discovery Material itself, and
not text that in no material way reveals the Confidential
Discovery Material. A party filing documents under seal should
arrange for unredacted courtesy hard copies to be delivered
to Chambers by the next business day following the filing.
11. Any party who either objects to any designation of
confidentiality, or who, by contrast, requests still further
limits on disclosure (such as “attorneys’ eyes only” in
extraordinary circumstances), may at any time prior to the
trial of this action serve upon counsel for the designating
person a written notice stating with particularity the grounds
of the objection or request. If agreement cannot be reached
promptly, counsel for all affected persons will convene a

joint telephone call with the Court to obtain a ruling.

12. All persons are hereby placed on notice that the
Court is unlikely to seal or otherwise afford confidential
treatment to any Discovery Material introduced in evidence at
trial, even if such material has previously been sealed or
designated asConfidential. The Court also retains unfettered

discretion whether or not to afford confidential treatment to

 

 

 

 

 

 
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any Confidential Document or information contained in any
Confidential Document submitted to the Court in connection with
any motion, application,or proceeding that may result in an
order and/or decision by the Court.

13. Each person who has access to Discovery Material
that has been designated as Confidential shall take all due
precautions to prevent the unauthorized or inadvertent
disclosure of such material.

14. If, in connection with this litigation, a party
inadvertently discloses information subject to a claim of
attorney-client privilege or attorney work product protection
(“Inadvertently Disclosed Information”), such disclosure shall
notconstitute or be deemed a waiver or forfeiture of any claim
of privilege or work product protection with respect to the
Inadvertently Disclosed Information and its subject matter.
This paragraph shall be interpreted to provide the greatest
protection allowed by Federal Rule of Evidence 502, or

otherwise permitted by law.

15. If a disclosing party makes a claim of inadvertent
disclosure, the receiving party shall not thereafter review
the Inadvertently Disclosed Information for any purpose,
except by order of the Court. The receiving party shall, within
five business days, return or destroy all copies of the

TInadvertently Disclosed Information, and provide a

 

 

 

 

 

 

 

 

 

 

 
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certification of counsel thatall such information has been
returned or destroyed.

16. Within five business days of the notification that
suchInadvertently Disclosed Information has been returned or
destroyed, the disclosing party shall produce a privilege log
withrespect to the Inadvertently Disclosed Information.

17. As with any information redacted or withheld, the
receiving party may move the Court for an Order compelling
production of the Inadvertently Disclosed Information. The
motionshall be filed under seal, and shall not assert as a
ground for entering such an Order the fact or circumstances of
the inadvertent production.

18. The disclosing party retains the burden of
establishing the privileged or protected nature of any
Inadvertently DisclosedInformation. Nothing in this Order shall
limit the right of any party to request an in camera review of
the Inadvertently Disclosed Information.

19, If any person subject to this Protective Order who
has custody of Confidential Discovery Material receives a
subpoena or other process (“Subpoena”) from any government or
other person or entity demanding production of such material,
the recipient of the Subpoena shall promptly give notice of
the same by electronic mail transmission and shall furnish such

counsel with a copy of the Subpoena. Upon receipt of this

 

 

 

 

 

 

 
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notice, the designating party may, in its sole discretion and
at its own cost, move to quash or limit the Subpoena, otherwise
oppose production of the Confidential Discovery Material,
and/or seek to obtain confidential treatment of such materials
from the subpoenaing person or entity to the fullest extent
available under law.

20. This Protective Order shall survive the termination
of the litigation. Within 30 days of the final disposition of
this action, all Discovery Material designated as
“Confidential,” and all copies thereof, shall be promptly
returned to the producing person or destroyed.

21. This Court shall retain jurisdiction over all
persons subject to this Order to the extent necessary to
enforce any obligations arising hereunder or to impose

sanctions for anycontempt thereof.

SO STIPULATED AND AGREED.

 

 

 

 

 

 

 

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Attorneys for Defendant
Ahold U.S.A., Inc.

Dated:

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JED sf RAKOFF, U.S.D.d.

SO ORDERED.

 

Dated: New York, New York

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Idalia Valcarcel,

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Plaintiff,
NON-DISCLOSURE AGREEMENT
Vv.
Ahold U.S.A., Inc.,
Defendants.
I, . , acknowledge that I have read and

 

understand the Protective Order in this action governing the non-
disclosure of those portions of Discovery Material that have been
designated as Confidential. I agree that I will not disclose such
6nfidential Discovery Material to anyone except as authorized by
this Protective Order and for purposes of this litigation, and
that at the conclusion of the litigation I will return all
discovery information to the party or attorney from whom I
received it. By acknowledging these obligations under the
Protective Order, I understand that I am submitting myself tothe
jurisdiction of the United States District Court for the Southern
District of New York for the purpose of any issue or dispute
arising hereunder and that my willful violation of any term of
the Protective Order could subject me to punishment for contempt
of Court.

Dated:

 

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